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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

PNC BANK, N.A.,                 §
                                §
     Plaintiff,                 §
                                §
v.                              §
                                §                   Civil Action No. 1:17-cv-01081
RENE O. CAMPOS; 2013 TRAVIS OAK §
CREEK DEVELOPER, INC.; CHULA    §
INVESTMENTS, LTD.; AND EUREKA §
MULTIFAMILY GROUP, L.P.,        §
                                §
     Defendants.                §

                                   NOTICE OF REMOVAL

       1.      Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Rene O. Campos, 2013 Travis Oak

Creek Developer, Inc., Chula Investments, Ltd., and Eureka Multifamily Group, L.P. (collectively

“Removing Defendants”), who are all of the named Defendants in the removed state court action

described herein, file this Notice of Removal to remove Cause No. D-1-GN-17-006241, styled

PNC Bank, N.A. v. Rene O. Campos; 2013 Travis Oak Creek Developer, Inc.; Chula Investments,

Ltd.; and Eureka Multifamily Group, L.P. (the “State Court Action”) from the 201st District Court

of Travis County, Texas, to the United States District Court for the Western District of Texas,

Austin Division. This Court’s original jurisdiction is based upon 28 U.S.C. § 1332 (diversity).

       2.      This Notice of Removal is supported by the facts set forth below and copies of the

entirety of the filings in the State Court Action, attached hereto as Exhibit A (which comprises

only the Original Petition).

       3.      This Notice of Removal also is supported by the facts, pleadings and orders in a

related case that presently is pending in this Court, before The Honorable Robert L. Pitman. More

particularly, Plaintiff and Removing Defendants (other than Eureka Multi-Family Group, L.P.)




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presently are parties to Civil Action No. 4:17-cv-00584-RP-ML, PNC Bank, N.A., et al. v. 2013

Travis Oak Creek GP, LLC, 2013 Travis Oak Creek Developer, Inc., Chula Investments, Ltd. and

Rene O. Campos (the “Pending, Related Western District Case”). The Pending, Related Western

District Case involves the same and/or a substantial overlap in relevant subject matters and

transactions that are the subject of the removed State Court Action, and all of the parties to the

removed State Court Action (except for one Defendant) already are parties to the Pending, Related

Western District Case.

       4.      The State Court Action is properly removable to federal court pursuant to 28 U.S.C.

§§ 1332 and 1441. The Court has, may and should exercise diversity jurisdiction over the State

Court Action because it is a civil action between citizens of different states, in which the amount

in controversy exceeds the sum of $75,000, exclusive of costs and interest, and the Removing

Defendants have satisfied the procedural requirements for removal. It is apparent from the face of

the Original Petition that the amount in controversy in the State Court Action exceeds $1 million

(see paragraph 9 of the Original Petition). At the time this action was filed and at all times since,

Plaintiff PNC Bank, N.A. was and is a federally chartered bank with its principal place of business

in Pittsburgh, Pennsylvania, where Plaintiff is a citizen for jurisdictional purposes. Plaintiff

previously has judicially admitted, in the United States District Court for the Western District of

Texas, that it is a citizen of Pennsylvania. At the time the State Court Action was filed and at all

times since, all of the Removing Defendants have been citizens of Texas.

       5.      Removing Defendants are mindful of 28 U.S.C. § 1441(b)(2) and show that it does

not preclude this removal because no Defendant has been served as of the time of this removal.

See, e.g., Reynolds v. Personal Representative of the Estate of Christopher Johnson, 139 F. Supp.

3d 838, 841-42 (W.D. Tex. 2015).




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         6.       Additionally, there is no reasonable possibility that Plaintiff can recover the relief

it is seeking in the State Court Action. Plaintiff’s suit in the State Court Action arises out of the

same transactions and occurrences that are the subject matter of its claims in the Pending, Related

Western District Case – which is the first-filed suit between and among all of the parties to the

State Court Action (except for Defendant Eureka Multi-Family Group, L.P.) – and thus it must be

pleaded and adjudicated in the Pending, Related Western District Case, where the issues already

have been joined. The State Court Action would be subject to stay or abatement, and ultimately

res judicata.1

         7.       Pursuant to 28 U.S.C. § 1446(a) and the Court’s local rules, copies of all process,

pleadings, orders and other documents on file with the District Court of Travis County, if any, are

attached hereto (See Exhibit A). The docket sheet was unobtainable as of the filing of this Notice

and Exhibit A comprises the sole filing in the State Court Action-- Plaintiff’s Original Petition.

         8.       This Notice of Removal is timely and properly filed pursuant to 28 U.S.C. § 1446(b)

because it is being filed within 30 days following receipt of Plaintiff’s Original Petition by the

Removing Defendants in the State Court Action. All of the Removing Defendants – who are all of

the defendants in the removed State Court Action -- consent to and join in this removal.

         9.       Pursuant to 28 U.S.C. § 1446(a) and the Court’s local rules, a Certificate of

Interested Parties is attached hereto (See Exhibit B).

         10.      A copy of this Notice of Removal is being filed with the Clerk of the District Court

of Travis County, as required by law. Written notice of removal also is being given to Plaintiff

PNC Bank, N.A., by and through its attorneys of record.




1
  The State Court Action is a suit to enforce a written guaranty agreement in which the parties agreed that exclusive
jurisdiction with respect to any action by or against a party to the agreement rests in the state and federal courts in
Austin, Travis County, Texas.

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        11.     Removing Defendants reserve the right to amend or supplement this Notice of

Removal.

        12.     Removing Defendants respectfully request that this case be assigned to Judge

Robert L. Pitman given the relationship of the State Court Action and the Pending, Related

Western District Case that is detailed above.

        WHEREFORE, the Removing Defendants pray that the State Court Action be removed to

the United States District Court for the Western District of Texas, that the State Court proceed no

further, and that the Removing Defendants be awarded any other relief to which they may be

entitled.

        Dated: November 14, 2017

                                                Respectfully submitted,

                                                /s/ Kenneth B. Chaiken
                                                Kenneth B. Chaiken
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                                           Houston, Texas 77002
                                           (713) 221-7000
                                           (713) 221-7100 (Facsimile)

                                           ATTORNEYS FOR
                                           REMOVING DEFENDANTS


                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served on all counsel of record via the
Court’s electronic filing system on this 14th day of November 2017.


                                           /s/ Kenneth B. Chaiken
                                           Kenneth B. Chaiken




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    JS 44 (Rev. 06/17)
                                                                                   CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither rep lace nor supplement the filing and service of pleadings or other papers as reqLtired by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet , (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

    T. (a) PLAINTIFFS                                                                                                    DEFENDANTS
    PNC Bank, N.A.                                                                                                     Rene 0. Campos; 2013 Travis Oak Creek Developer, Inc., Chula
                                                                                                                       Investments, Ltd.; and Eureka Multifamily Group, L.P .
       (b) County of Residence of First Listed Plaintiff                                                                 County of Residence of First Listed Defendant                     _T
                                                                                                                                                                                            _ ra_v_is_ _ ________
                                       (EXCEPT IN U.S. PLA!NTIFF CASES)                                                                                    (EN U.S. PLA!NT!FF CASES ONLY)
                                                                                                                         NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                       THE TRACT OF LAND INVOLVED.


       ( C) Attorneys (Fir111 Na111e,   Address, a11d Telephone N11111ber)                                                Attorl)f!yli.(lf)(J101v11)              .                .
                                                                                                                       Kennem ts. Cha1Ken, Chaiken & Chaiken, P.C.
                                                                                                                       5801 Tennyson Parkway, Suite 440
                                                                                                                       Plano TX 75024

    II. BASIS OF JURISDICTION (Place a/I                          "X" in OneBox011ly)                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                              "X " ill One Boxfor Plaintiff
                                                                                                                   (For Diversity Cases Only)                                                  a11d 011e Box for D~fe11d11111)
0      I    U.S. Government                   0 3   Federal Question                                                                         PTF             DEF                                                   PTF      DEF
              Plaintiff                                (U.S. Government Not a Ptir~\')                        Citizen of This State         O I              ~I           Incorporated or Principal Place           O 4     ~4
                                                                                                                                                                            of Business ln This Stutc

0           U.S. Government                   ~ 4   Diversity                                                 Citizen of Another State            IX 2       0        2   Incorporated a11d Principal Place        )oil 5   0 5
               Defendant                               (Indicate Citizenship a/Parties i11 lte111 lll)                                                                       of Business In Another State

                                                                                                              Citizen or Subject of a             0    3      0       3   Foreign Nation                           0   6    0 6
                                                                                                                  Forei 1 11 Countr
    IV. NATURE OF SUIT (Place""                       "X" in One Bo, OnM                                                                                      Click here for· Nature of Suit Code Descriptions"
I              CONTRACT                                             TORTS                                         FORFEITURE/PENALTY                              BANKRUPTCY                        OTHER STATUTES                 I
    0 110 Insurance                            PERSONAL INJURY               PERSONAL INJURY                  0 625 Drug Related Seizure               o 422 Appeal 28 use 158                0 375 False Claims Act
    0 120 Marine                          0    310Airplane                0 365 Personal Injury -                      of Property 21 USC 881          0 423 Withdrawal                       0 376 Qui Tam (31 USC
    Cl 130 Miller Act                     0    315 Airplane Product              Product Liability            0 690 Other                                    28 USC 157                                 3729(a))
    0 140 Negotiable Instrument                     Liability             0 367 Health Care/                                                                                                  0 400 State Reapportionment
    0 150 Recovery of Overpayment 0            320 Assault, Libel &             Phannaceutical                                                           PROPERTY RIGHTS                      0 410 Antitrust
          & Enforcement of Judgment                 Slander                     Personal lnjmy                                                         0 820 Copyrights                       0 430     Banks and Banking
    0 151 Medicare Act              0          330 Federal Employers'           Product Liability                                                      0 830 Patent                           0 450     Commerce
    0 I52 Recovery of Defaulted                     Liability             0 368 Asbestos Personal                                                      0 835 Patent - Abbreviated             0 460     Deportation
          Student Loans                   0    340 Marine                        Injury Product                                                                   New Drug Application        0 4 70    Racketeer Influenced and
          (Excludes Veterans)             0    345 Marine Product               Liability                                                              0 840 Trademark                              Corrupt Organizations
    0 153 Recovery of Overpayment                   Liability              PERSONAL PROPERTY                                LABOR                          SOCIAL SECURITY                    0 480 Consumer Credit
          of Vetenm 's Benefits           0    350 Motor Vehicle          0 370 Other Fraud                   0   710 Fa ir Labor Standards            0   861 H!A (1395ft)                   0 490 Cable/Sat TV
    0 160 Stockholders' Suits             0    355 Motor Vehicle          0 371 Truth in Lending                       Act                             0   862 Black Lung (923)               0 850 Securities/Commodities/
ll 190 Other Contract                              Product Liability      0 380 Other Personal                0   720 Labor/Management                 0   863 DIWC/DIWW (405(g))                   Exchange
    0 195 Contract Product Liabi lity     0    360 Other Personal               Property Damage                        Relations                       0   864 SS!D Title XVI                 0 890 Other Statutory Actions
    0 196 Franchise                                Injury                 0 385 Property Damage               0   740 Railway Labor Act                0   865 RSI (405(g))                   0 89 I Agricultural Acts
                                          0    362 Personal lnju,y -            Product Liability             0   751 Family and Medical                                                      0 893 Environmental Matters
                                                   Medical Malpractice                                                 Leave Act                                                              0 895 Freedom oflnl'ornrntion
I           REAL PROPERTY                        CIVIL RIGHTS              PRISONER PETITIONS                 0   790 O ther Labor Litigation               FEDERAL TAX SUITS                       Act
    0 210   Land Condemnation             0    440 Other Civil Rights       Habeas Corpus:                    0   791 Employee Retirement              0 870 Taxes (U.S. Plaintiff            0 896 Arbitration
    0 220   Foreclosure                   0    441 Voting                 0 463 Alien Detainee                        Income Security Act                         or Defendant)               0 899 Administrative Procedure
    0 230   Rent Lease & Ejectment        0    442 Employment             0 510 Motions to Vacate                                                      0 871 !RS-Third Party                        Act/Review or Appeal of
    0 240   Torts to Land                 0    443 Housing/                     Sentence                                                                          26 USC 7609                       Agency Decision
    0 245   Tort Product Liability                 Accommodations         0 530 General                                                                                                       0 950 Constitutionality of
    0 290   All Other Rea l Property      0    445 Amer. w/Disabilities - 0 535 Death Penalty                          IMMIGRATION                                                                  State Statutes
                                                   Employment               Other:                            0 462 Naturalization Application
                                          0    446 Amer. w/Disabilitics - 0 540 Mandamus & Other              0 465 Other Immigration
                                                   Other                  0 550 Civil Rights                        Actions
                                          0    448 Education              0 555 Prison Condition
                                                                          0 560 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement
    V, ORIGIN (Place ,m "X" in O11e Box Only)
0 I Original                  ~2 Removed from                    0 3        Remanded from                0 4 Reinstated or            0 5 Transferred from                0 6 Multidistrict               0 8 Multidistrict
    Proceeding                   State Court                                Appellate Court                  Reopened                     Another District                    Litigation -                    Litigation -
                                                                                                                                           (specify)                          Transfer                       Direct File
                                                Cite the U.S. Civil Statute under which you are filing (Do uot citej11risdictio11a/ statutes unless dil'ersity):
    VI. CAUSE OF ACTION 28 USC Sections 1332 1441 and 1446
                                                Brief description of cause:
                                                Suit for breach of guaranty
VII. REQUESTED IN     0                              CHECK IF THIS IS A CLASS ACTION                              DEMA1f $                                            CHECK YES only if demanded in complaint:
     COMPLAINT:                                      UNDER RULE 23, F.R.Cv.P.
                                                                                                                        >        I "'ill a•"                          JURY DEMAND:                  0 Yes          ,,jf,o
VIII. RELATED CASE(S)
                                                    (See instructions):
      [FANY
    DATE                                                                                 TURL!, ATT~
11/14/2017
    FOR OFFICE USE ONLY

       RECEIPT#                        AMOUNT                                        APPL YING IFP                                      JUDGE                                     MAG.JUDGE
